Case 1:19-mc-00342-DKW-KJM Document 1-4 Filed 09/13/19 Page 1 of 2     PageID #: 13




  CULPEPPER IP, LLLC
  Kerry S. Culpepper, Bar No. 9837
  75-170 Hualalai Road, Suite B204
  Kailua-Kona, Hawai’i 96740
  Telephone: (808) 464-4047
  Facsimile: (202) 204-5181
  E-Mail:     kculpepper@culpepperip.com

                        UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

                                          )
  In re Subpoena to                       )    19-mc-342
                                          )
  Cloudflare, Inc.,                       )
                                          )

                             Subpoena Attachment “A”

        Documents showing name, address, telephone, email, payment records, and

  IP address log history for the customer from 9/13/2016-present associated with

  customers for the following websites:

   Website                    IP address
   streamango.com             104.18.248.72
   verystream.com             104.20.132.131
   Fembed.com                 172.64.207.19
   vshare.eu                  37.120.137.178
   Vidlox.me                  37.48.68.207
   Flix555.com                104.28.24.212
   Streamplay.to              104.31.79.124
   0123moviesback.com         172.64.172.29



  Background:




  20-0131D
Case 1:19-mc-00342-DKW-KJM Document 1-4 Filed 09/13/19 Page 2 of 2      PageID #: 14




         The above web domains have been identified as streaming copies of Owner’s

  motion picture(s) and supplying said streams to the piracy app “CotoMovies” at

  specifically the following websites:

  https://streamango.com/embed/qbsltllqfeebrkpf
  https://www.fembed.com/v/ky5g0h3-gymr7gx
  https://verystream.com/stream/2cYm9oJB8Gw/
  http://entervideo.net/watch/7b2e5a43554f996
  https://verystream.com/e/iaoT3VZZVSF
  https://verystream.com/e/FG7LPqRnXdM
  https://vshare.eu/vrouje3xn60b.html
  https://vidlox.me/6jmwhk7e36zk
  https://www.flix555.com/1er1uwax93yx.html
  https://streamplay.to/9n5k9txotyte.html
  https://verystream.com/e/QzU8UhUzP1M
  https://verystream.com/e/YZrfxVCHRcF
  https://verystream.com/e/PgWTdHAcDXw
  https://verystream.com/e/bgaZpCeWaYT
  https://w2.0123moviesback.com/angel-has-fallen/




                                                  2
  20-0131D
